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                                                           Southern I)isirict of Ohio

               United States of America                                  1
                           V.
          Abraham CONTRERAS TRELLES
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                                                                         1      Case No. ~.~              il't     ."T
                             !)~'Av)clnnrvs,


                                                      CRIMINAL COMI'LAINT
        I. the complainant in this case, state that the tollo ing is true to the best of my knowledge and belief.
On or about the date(s) of                       October 20, 2020               in the county of               Franklin           in the
    Southern             District of                Ohio            , the delindant(s) violated:

          Cade Section                                                             OJJensc Description
Title 21, United States Code, § 841                  Distribution of a mixture and a substance containing a detectable amount of
(a)(1) and (b)(1)(C)                                 Heroin
Title 21, United States Code. § 841
(a)(1) and (b)(1)(A)(viii)                           Possession With Intent to Distribute 500 grams or more of a mixture and a
Title 21, United States Code § 846                   substance containing a detectable amount of Methamphetamine
and and United States Code § 841
(a)(1) and (b)(1)(B)(i)                              Conspiracy to Distribute 100 grams or more of a mixture and a substance
                                                     containing a detectable amount of Heroin

        "this criminal complaint is based on these facts:




           Continued on the attached sheet.




                                                                                         Chr' _• ,:   ¢p.'..     DEA Special Agent
                                                                                                                    rl r;tli'


Sworn to betore me and signed in m> presence.                VGA'       fiMe

Date:              12/02/2021


City and state:                               Columbus, Ohio                       Eli                              :S. Magistrate Judge
                                                                                                                  in/ titlr
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                                           AFFIDAVIT

       1, Christopher Cadogan, having been duly sworn, state the following:

                                        INTRODUCTION

1.      Your Affiant is a Special Agent with the Drug Enforcement Administration (DEA) and
has been so employed for approximately twenty-five years. I am currently assigned to Group Four
of the DEA's Columbus District Office. This group is currently comprised of narcotics
investigators from the DEA and the Columbus Police Department. Group Four was designed, in
part, to target individuals and groups involved in the manufacture and distribution of
methamphetamine, cocaine, heroin, and fentanyl in Franklin County, Ohio. Prior to being
employed by the DEA, I was employed for approximately two and one-half years as a Border
Patrol Agent. As a Border Patrol Agent I was cross-designated to make federal arrests of
individuals in violation of Title 21 of the United States Code. For more than twenty-seven years,
I have had the authority to make federal drug arrests.

2.      As a DEA Special Agent, Your Affiant has participated in hundreds of narcotics
investigations involving various types of controlled substances. I have received substantive
advanced training pertaining to the investigation of various crimes which arise from narcotics
trafficking, including money laundering, the use of interstate transportation in the furtherance of
narcotics trafficking, the use of the United States Postal Service facilities in furtherance of
narcotics trafficking, and the use of telecommunications facilities in the furtherance of narcotics
trafficking. I have participated in investigations involving the purchase of controlled substances
from suspected narcotics traffickers using both undercover narcotics investigators and confidential
sources. I have participated in the drafting and execution of search warrants for narcotics, proceeds
from the sale of narcotics, documentary evidence of narcotics trafficking, and for the
telecommunications devices used by narcotics traffickers. I have conducted surveillances in
connection with narcotics investigations. 1 have authored five affidavits supporting federal wire
and electronic intercepts of known and suspected narcotics traffickers.

3.     Through the course of these investigations, I have personally interviewed confidential
sources, and other persons, involved in the distribution of illegal narcotics. I have also interviewed
persons arrested for the distribution of illegal narcotics. I have spoken with more experienced
narcotics investigators with whom I have worked concerning the practices of narcotics traffickers
and the best investigative methods to use when conducting investigations of narcotics trafficking
organizations. Through the course of my investigations and through my conversations with more
experienced narcotics investigators, I have become familiar with the methods and means utilized
by persons who participate in the illegal distribution of controlled substances.


                                     PURPOSE OF AFFIDAVIT
4.     This affidavit is made in support of an application for a federal arrest warrant and
criminal complaint against Abraham CONTRERAS TRELLES (CONTRERAS), Oscar
Fernando MURCIA RUIZ (MURCIA), and Dakota Renea JORDAN (JORDAN) for conspiring
with others, both known and unknown, to distribute 100 grams or more of a mixture and a
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substance containing a detectable amount of heroin, a schedule I controlled substance, in
violation of Title 21, U.S.C. § 841 (a)(1) and (b)( I )(B)(i) and Title 21, U.S.C. § 846. In addition,
on October 20, 2021, CONTRERAS and JORDAN did knowingly and intentionally distribute a
detectable amount of heroin, a schedule 1 controlled substance, in violation of Title 21, U.S.C. §
841(a)(1) and (b)(1)(C), on November 3, 2021, MURCIA did knowingly and intentionally
distribute 100 grams or more of a mixture and a substance containing a detectable amount of
heroin, a schedule I controlled substance, in violation of Title 21, U.S.C. § 841 (ax1) and
(bX1)(B)(i), and on November 17, 2021, MURCIA did knowingly and intentionally distribute
100 grams or more of a mixture and a substance containing a detectable amount of heroin, a
schedule I controlled substance, in violation of Title 21, U.S.C. § 841 (a)(1) and (b)(1)(B)(i). On
December 1, 2021, CONTRERAS did knowingly possess with intent to distribute 500 grams or
more of a mixture and a substance containing a detectable amount of methamphetamine, a
schedule II controlled substance, in violation of Title 21, U.S.C. § 841 (axl) and (b)(1)(A)(viii).
My knowledge of this investigation is based upon my own personal observations, as well as the
observation and investigation conducted by other law enforcement officers knowledgeable of the
facts and circumstances involved in the subject investigation. 1 have not included in this
Affidavit all the facts known to me, but only that information sufficient to establish probable
cause to believe that CONTRERAS, MURCIA, and JORDAN committed a violation of Title 21,
U.S.C. § 841 (a)(1) and (b)(1)(B)(i) and Title 21, U.S.C. § 846, that CONTRERAS and
JORDAN committed a violation of Title 21, U.S.C. § 841 (ax1) and (b)(1)(C), and MURCIA
twice committed violations of Title 21, U.S.C. § 841 (a)(1) and (bX1XBxi). In addition,
CONTRERAS committed a violation of Title 21, U.S.C. § 841 (a)(1) and (b)(1)(Axviii).

                                   SUMMARY OF PROBABLE CAUSE

5.     Following a series of telephone calls and text messages between a DEA confidential
source and DEA Special Agent (SA) Noah Bookman, both acting in an undercover capacity, and
a Mexican heroin trafficker known as "Juan", utilizing cellular telephone 52-664-781-7774,
arrangements were made to purchase two ounces of heroin (50 grams) for $1,700.00 in official
advanced funds (OAF).

6.      In response to these arrangements, plans were formulated at the DEA's Columbus District
Office to surveil the planned meeting between SA Bookman and one of "Juan's" runners on the
morning of October 20, 2021, in order to purchase the two ounces (50 grams) of heroin for
$1,700.00 in OAF.

7.      On October 20, 2021, SA Bookman was given $1,700.00 in OAF to purchase two ounces
of heroin. "Juan" had earlier agreed to sell SA Bookman two ounces of heroin (50 grams) for
$1,700.00. SA Bookman was also equipped with a device capable of producing an audio and
video recording of the planned meeting between SA Bookman and the runner. SA Bookman was
also given a transmitting device that was monitored over a police radio by Your Affiant.

8.     On October 20, 2021, at approximately 11:32 a.m., DEA SAs Joseph Bochenek, James
Rose, DEA Task Force Officers (TFOs) Andy Wuertz, Barry O'Dell, and DEA Group Supervisor
(OS) Scott Waugaman established surveillance at the proposed meet location. The proposed
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meet location was the Arby's parking lot located at 1563 West Broad Street in Columbus, Ohio
43222.

9.      At approximately 11:41 a.m., DEA SA Alexa Montesano, DEA TFOs Christopher
Farrington, Andy Wuertz, DEA GS Nalen Olsen, and Your Affiant observed SA Bookman arrive
at the proposed meet location and park on the west end of the parking lot.

10.     At approximately 11:56 a.m., SA Bookman is advised by "Juan" that the runner
delivering the heroin would be arriving at SA Bookman's location in a few minutes. SA
Bookman was not given a description of the runner's vehicle.

11.    At approximately 11:59 a.m., TFO Wuertz and Your Affiant observed a gray 2004 Ford
Focus Hatchback, bearing Ohio license plate JKB6732, registered to Gudiel Enrique PEREZ-
RAMIREZ at 500 Josephine Avenue in Columbus, Ohio 43204, driving north toward the Arby's
Restaurant and then turning into the Arby's parking lot before briefly parking next to a white
Columbus City work truck, a few parking spaces south of where SA Bookman had parked. The
gray Ford Focus was occupied by a female adult with what appeared to be dyed blonde hair who
was subsequently identified as Dokota Renea JORDAN, hereafter referred to as JORDAN, (front
passenger) and a medium complexioned adult male wearing a red shirt and a black baseball cap
who was subsequently identified as Abraham CONTRERAS TRELLES, hereafter referred to as
CONTRARAS (driver).

12.     At approximately 12:00 p.m., TFO Wuertz and Your Affiant observed the gray Ford
Focus pull out of the parking spot it was in, loop around the Arby's restaurant, and then pull into
the drive-thru line at the Arby's restaurant.

13.    At approximately 12:04 p.m., TFO Wuertz and Your Affiant observed the gray Ford
Focus pull away from the drive-thru window of the Arby's restaurant and then subsequently loop
back around and pull up next to SA Bookman's vehicle, on the driver's side (north). According
to SA Bookman, while the gray Ford Focus was parked next to his vehicle, he was able to
observe the front passenger (JORDAN) pull something from her waistband.

14.     At approximately 12:05 p.m., TFO Wuertz observed the driver of the gray Ford Focus
(CONTRERAS), get out of the Ford Focus and then walk over to the passenger side of SA
Bookman's vehicle. TFO Wuertz observed CONTRERAS pull something from his sock before
getting into the front passenger seat of SA Bookman's vehicle.

15.     At approximately 12:06 p.m., TFO Wuertz observed CONTRERAS exit SA Bookman's
vehicle and walk back towards the gray Ford Focus. According to SA Bookman, while inside
SA Bookman's vehicle, CONTRTERAS handed SA Bookman approximately 95 gross grams of
a black tar-like substance, believed to be heroin, which was contained within a clear plastic
baggie in exchange for the $1,700.00 in OAF.

16.   At approximately 12:07 p.m., TFOs Wuertz, Farrington, SAs Montesano, GS Olsen, and
Your Affiant observed SA Bookman depart the area.


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17.     At approximately the same time, TFO Wuertz, SA Rose, and Your Affiant observed
CONTRERAS get back into the driver seat of the gray Ford Focus and drive east towards the
Arby's parking lot exit. The above mentioned investigators then observed the Ford Focus
stop near the exit, and CONTRERAS and JORDAN exit the vehicle, and then switch places. SA
Rose subsequently observed the gray Ford Focus depart the area traveling east on Broad
Street. As they departed the area, JORDAN was seated in the driver seat while CONTRERAS
was seated in the front passenger seat.

18.     At approximately 12:20 p.m., SA Rose observed the gray Ford Focus pull into the
parking lot of the Laundryland located at 3457 Sullivant Avenue in Columbus, Ohio
43204. According to SA Rose, it appeared as if JORDAN (driver) and CONTRERAS (front
passenger) were attempting to clean their tail before arriving at their destination. According to
SA Rose, the two remained seated in the gray Ford Focus while parked in a parking space in
front of the Laundryland before continuing west on Sullivant Avenue.

19.     At approximately 12:21 p.m., SA Rose observed the gray Ford Focus arrive and park in
the vicinity of the house located at 500 Josephine Avenue. SA Rose subsequently observed both
JORDAN and CONTRERAS exit the vehicle and then walk into the north entrance to 500
Josephine Avenue. According to SA Rose, JORDAN was carrying a grocery bag as she exited
the gray Ford Focus.

20.    At approximately the time the gray Ford Focus arrived at 500 Josephine Avenue, a black
2008 Chevrolet Malibu, bearing Ohio license plate JGT4487, registered to Arturo NAVA
VASQUEZ SERVICES at 500 Josephine in Columbus, Ohio 43204, was parked in front of 500
Josephine Avenue. Also parked at 500 Josephine Avenue was a red 2007 Honda Civic, bearing
expired Indiana license plate WKL280, formerly registered to Luis Manuel OROS at 1620 West
Main Street in Carmel, Indiana 46032.

21.     At approximately 12:35 p.m., TFO Vanderbilt observed CONTRERAS exit the
north door to the residence and walk over to the gray Ford Focus and subsequently get into the
vehicle through the front passenger door. TFO Vanderbilt subsequently observed CONTRERAS
exit the gray Ford Focus.

22.     At approximately 12:37 p.m., TFO Vanderbilt observed a black 2010 Toyota Camry,
bearing Ohio license plate JMX8107, registered to Miguel Alejandro IGLECIAS at 7575 Quarry
Stone Drive in Hilliard, Ohio 43026, pull in front of the house located at 500 Josephine
Avenue. TFO Vanderbilt subsequently observed CONTRERAS get into the front passenger seat
of the black Toyota Camry. According to TFO Vanderbilt, the Camry was driven by an
unidentified medium complexioned male. The unidentified male driver of the Camry will
hereafter be referred to as UM I. SA Rose subsequently observed the Toyota Camry departing
the area

23.    At approximately 12:47 p.m., TFO Vanderbilt observed JORDAN depart 500 Josephine
Avenue through the north door and subsequently get into the gray Ford Focus Hatchback before
departing the area.


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24.     At approximately 12:55 p.m., SA Rose observed the black Toyota Camry driven by UM 1
arrive at the Turkey Hill Minit Market located at 3900 South High Street in Columbus, Ohio
43207. SA Rose subsequently observed the Camry park briefly in front of the Minit Market. SA
Rose observed the front passenger (CONTRERAS) get out of the Camry and walk east towards
the Market. The Toyota Camry, driven by UMI, then pulled out onto Obetz Road and departed
the area traveling eastbound.

25.     At approximately 12:58 p.m., SA Rose observed the Toyota Camry driven by UMI turn
north onto Beth Ann Drive and meet with an adult white male pedestrian. This pedestrian
walked over to the Toyota Camry and then got in through the front passenger door. SA Rose
then observed UMI drive a short distance, perhaps a few hundred feet, with the white male
pedestrian as a passenger. UMI then stopped the Camry and the unknown white male pedestrian
got out of the vehicle and walked away. UMI then turned around and drove back the way he had
come towards the Turkey Hill Minit Market. SA Rose subsequently observed CONTRERAS
walking north from the Market towards the Toyota Camry driven by UMI before getting back
into the Camry through the front passenger door. Investigators believe UMI met with the
unknown white male pedestrian to sell him an unknown amount of heroin. Investigators know
from their training and experience that such short duration meetings held inside vehicles are
indicative of street level narcotics transactions.

26.    At approximately 1:16 p.m., SA Rose and TFO Vanderbilt observed the black Toyota
Camry driven by UM1 arrive back at the house located at 500 Josephine Avenue. TFO
Vanderbilt observed CONTRERAS get out of the Toyota Camry with a white grocery plastic bag
and UMI get out holding a black bag over his right shoulder. TFO Vanderbilt subsequently
observed both men go into 500 Josephine Avenue through the north entrance.

27.     At approximately 1:29 p.m., TFO Vanderbilt observed a third unidentified medium
complexioned adult male walk from the north door of 500 Josephine Avenue and get into the red
Honda with the expired Indiana license plate. This third unidentified medium complexioned
male will hereafter be referred to as UM2. According to TFO Vanderbilt, UM2 was wearing a
red ball cap and a black sweatshirt.

28.    At approximately 1:44 p.m., TFO Vanderbilt observed UM3 depart the area in the red
Honda.

29.   At approximately 1:54 p.m., TFO Vanderbilt observed OF return in the Ford Focus
Hatchback and then walk inside the north entrance 10 500 Josephine Avenue.

30.    At approximately 2:00 p.m., TFO Vanderbilt observed UM2 exit 500 Josephine Avenue
and walk towards the Toyota Camry.

31.    At approximately 2:02 p.m., TFO Vanderbilt observed UM1 exit 500 Josephine Avenue
and appear to speak briefly with UM2 on the north side of the address.




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32.    At approximately 2:04 p.m., TF0 Vanderbilt observed UM 1 depart the area alone in the
Toyota Camry. Your Affiant and TFO Baer subsequently observed UM 1 traveling north on
Wilson Road.

33.   At approximately 2:36 p.m., TFO Vanderbilt observed CONTRERAS (driver) and
JORDAN (front passenger) depart 500 Josephine Avenue in the gray Ford Focus. TFO Baer
subsequently observed the two pull into the parking lot near the Julian Wireless store located at
4193 West Broad Street in Columbus, Ohio 43228.

34.     At approximately 2:56 p.m., Your Affiant observed JORDAN exit Julian Wireless and
get into the front passenger seat of the Ford Focus before the two departed the area traveling east
on West Broad Street.

35.    At approximately 3:01 p.m., surveillance was terminated.

36.     As a result of a series of text messages and telephone calls between a DEA confidential
source and SA Bookman, both acting in an undercover capacity, and the Mexican heroin
trafficker known as "Juan", utilizing cellular telephone 52-664-781-7774, arrangements were
made to purchase four ounces of heroin for $3,400.00 in official advanced funds (OAF). In
response to these arrangements, plans were formulated at the DEA's Columbus District Office to
surveil the planned meeting between SA Bookman and one of "Juan's" runners on the morning
of November 3, 2021, to purchase the four ounces (100 grams) of heroin for $3,400.00 in OAF.

37.     On November 3, 2021, SA Bookman was given $3,400.00 in OAF to purchase four
ounces (50 grams) of heroin. "Juan" had earlier agreed to sell SA Bookman four ounces of
heroin for $3,400.00. SA Bookman was also equipped with a device capable of producing an
audio and video recording of the planned meeting between SA Bookman and the runner. SA
Bookman was also given a transmitting device that was monitored over a police radio by Your
Affiant.

38.     On the same date, at approximately 10:40 a.m., DEA Task Force Officers (TFOs) Andy
Wuertz, Barry O'Dell, and Brian Daron established surveillance at the proposed meet
location. The proposed meet location was the Arby's parking lot located at 1563 West Broad
Street in Columbus, Ohio 43222.

39.     At approximately 11:44 a.m., "Juan" advised SA Bookman that his (Juan's) runner would
arrive with the heroin at the Arby's parking lot in approximately forty minutes.

40.     At approximately 12:47 p.m., SA Bookman is advised by "Juan" that the runner
delivering the heroin would be arriving at SA Bookman's location in approximately twenty-five
minutes. SA Bookman was not given a description of the runner's vehicle.

41.     At approximately 12:52 p.m., "Juan" advised SA Bookman that his (Juan's) runner would
be driving a Ford Focus. On October 20, 2021, the heroin that SA Bookman subsequently
purchased had been delivered by CONTRERAS and JORDAN driving a gray 2004 Ford Focus


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Hatchback, bearing Ohio license plate JKB6732, registered to Gudiel Enrique PEREZ-
RAMIREZ at 500 Josephine Avenue in Columbus, Ohio 43204.

42.     At approximately 1:07 p.m., DEA SAs Anthony Martin, TFO Wuertz, Franklin County
Sheriffs Office (FCSO) Detective Joseph Smith, and Your Affiant observed SA Bookman
arrive and park in the Arby's parking lot located at 1563 West Broad Street.

43.     At approximately 2:04 p.m., "Juan" advised SA Bookman that his (Juan's) runner had
arrived at the meet location.

44.     At approximately 2:12 p.m., TFO Wuertz, FCSO Detective Smith, and Your Affiant
observed a medium complexioned adult male driving a burgundy 2014 Ford Focus Hatchback,
bearing Ohio license plate HDU3321, registered to Lola POPCEVSKI at 13142 Appleton Drive
in Pickerington, Ohio 43147, arrive in the Arby's parking lot and then drive up to SA Bookman's
vehicle. According to SA Bookman, the male driver, subsequently identified as Oscar Fernando
MURCIA RUIZ, hereafter referred to as MURCIA, was looking hard at SA Bookman and was
talking into his cellular telephone as he pulled up to SA Bookman's vehicle. The above
mentioned investigators subsequently observed MURCIA get out of the Ford Focus and walk
over to SA Bookman's vehicle.

45.    Seconds later, TFO Wuertz, FCSO Detective Smith, and Your Affiant observed
MURCIA open the front passenger door and then get into the front passenger seat of SA
Bookman's vehicle. According to SA Bookman, MURCIA gave him 136.8 gross grams of
a brown powder substance, believed to be heroin, which was packed into two round balls that
were contained in clear plastic. One ball was further contained in brown plastic and the other
ball was further contained in blue plastic. SA Bookman subsequently gave MURCIA $3,400.00
in OAF in exchange for the purported heroin.

46.    At approximately 2:14 p.m., TFO Wuertz observed MURCIA get back into his burgundy
Ford Focus and then pull into the Arby's drive-thru line.

47.    At approximately 2:16 p.m., SAs Martin, FCSO Detective Smith, and Your Affiant
observed SA Bookman depart the area traveling east.

48.     At approximately 2:17 p.m., TFO Wuertz observed MURCIA depart the area after
receiving something in the drive-thru line.

49.    At approximately 2:28 p.m., surveillance was terminated after investigators were unable
to maintain surveillance of MURCIA. MURCIA was last seen traveling east on Broad Street.

50.     As a result of a series of text messages and telephone calls between a DEA confidential
source and SA Bookman, both acting in an undercover capacity, and the Mexican heroin
trafficker known as "Juan", utilizing cellular telephone 52-664-781-7774, arrangements were
made to purchase four ounces of heroin for $3,400.00 in official advanced funds (OAF). In
response to these arrangements, plans were formulated at the DEA's Columbus District Office to


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surveil the planned meeting between SA Bookman and one of "Juan's" runners on the morning
of November 17, 2021, to purchase the four ounces (100 grans) of heroin for $3,400.00 in OAF.

51.    On November 17, 2021, SA Bookman was given $3,400.00 in OAF to purchase four
ounces (100 grams) of heroin. "Juan" had earlier agreed to sell SA Bookman four ounces (50
grams) of heroin for $3,400.00. SA Bookman was also equipped with a device capable
of producing an audio and video recording of the planned meeting between SA Bookman and the
runner. SA Bookman was also given a transmitting device that was monitored over a police
radio by Your Affiant.
52.    On the same date, at approximately 11:00 a.m., DEA Task Force Officers (TFOs) Andy
Wuertz and David Barrick and OS Scott Waugaman established surveillance at the proposed
meet location. The proposed meet location was the Arby's parking lot located at 1563 West
Broad Street in Columbus, Ohio 43222.

53.     At approximately 11:30 a.m., surveillance was established in the area of 5965 Carson
Michael Ave., Columbus, OH 43230 by TFO's Heaberlin and Miller. Surveillance was also
established in the area of 4140 Quentin Blvd, Columbus, OH 43230. Both locations are
apartment complexes.

54.   At approximately 12:16 p.m., "Juan" advised SA Bookman that his (Juan's) runner was
moving.

55.     At approximately 12:22 p.m., SA Bookman is advised by "Juan" that the runner
delivering the heroin would be "the same guy as last time" and would be arriving
in approximately fifteen minutes. SA Bookman was not given a description of the runner's
vehicle.

56.     At Approximately 12:24 TFO Miller observed MURCIA wearing a blue sweatshirt,
sporting a "faux-hawk" type haircut, and working his phone, exit from the northwest apartment
on the third floor, apartment 304. MURCIA was recognized by TFO Miller as the person that
met SA Bookman on November 3rd and sold him approximately 100 grams of heroin. MURCIA
proceeded to get into the driver's seat of the burgundy Ford Focus, bearing Ohio license plate
HDU3321, the sane; vehicle he drove on November 3, 2021, to the meeting with SA Bookman.

57.     At approximately 12:27 p.m., SA Miller observed the burgundy Ford Focus pull into the
parking lot of an adjacent apartment complex located in the area of 4140 Quentin Boulevard and
park on the far East side of the lot. Almost immediately afterward a black Jeep Compass,
bearing Ohio temporary license plate N378206, pulled into a parking spot immediately adjacent
to the burgundy Ford Focus.

58.    The Jeep Compass was occupied by JORDAN (driver) and CONTRERAS (front
passenger). The pair was previously observed in the gray 2004 Ford Focus. Both JORDAN and
CONTRERAS had met with SA Bookman on October 20, 2021 and sold him approximately two
ounces of heroin.



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59.     SA Miller observed CONTRERAS exit the Jeep Compass and immediately enter the rear
driver's side passenger seat of the burgundy Ford Focus. About 30 seconds later, CONTRERAS
exited the burgundy Ford Focus and re-entered the Jeep Compass. Both vehicles immediately left
the area and were followed by the surveillance team. This short duration meeting inside a
vehicle between two known heroin traffickers was indicative of a street level narcotics
transaction. Investigators know from their training and experience that CONTRERAS had just
supplied MURCIA with the heroin that he would subsequently sell to the undercover agent.
CONTRERAS had himself sold approximately two ounces of heroin to an undercover agent on
October 20, 2021 and was observed conducting what appeared to be another narcotics
transaction with a suspected heroin trafficker on November 3, 2021. Investigators suspect that
CONTRERAS manages Juan's heroin trafficking operation and supplies both MURCIA and the
unidentified driver of the black Toyota Camry with heroin which they then distribute.

60.     At approximately 12:30 p.m., SA Miller observed the burgundy Ford Focus turn back
into the Chelsea Apartment Homes complex toward building 5965 on Carson Michael Avenue.
TFO Heaberlin then observed the burgundy Ford Focus park in the area of building 5965 and
subsequently observed MURCIA exit the vehicle and enter apartment 304. Investigators believe,
based upon their training and experience, MURCIA returned to his apartment in order to weigh
and repackage the heroin which he had just received for distribution. Investigators suspect that
MURCIA had just received more than just the four ounces of heroin that he would subsequently
transport to the meet location and sell to the undercover agent.

61.    At approximately 12:57 p.m., TFO Heaberlin observed MURCIA exit the apartment and
walk to the burgundy Ford Focus. The vehicle then proceeded directly to the meet location
under constant surveillance by the surveillance team.

62.    At approximately 1:20 p.m., SA Martin observed MURCIA arrive at the meet location
and exit the burgundy Ford Focus. MURCIA subsequently got into the front passenger seat of
SA Bookman's vehicle.

63.    According to SA Bookman, MURCIA gave him 135.49 gross grams of a brown powder
substance, believed to be heroin, which was packed into two round balls that were contained in
brown packaging. SA Bookman subsequently gave MURCIA $3,400.00 in OAF in exchange for
the purported heroin.

64.   At approximately 1:23 p.m., SA Martin observed MURCIA get back into the burgundy
Ford Focus and then pull into the Arby's drive-thru line.

65.    At approximately 1:26 p.m., GS Waugaman observed the burgundy Ford Focus pull
away from the lot.

66.    At approximately 1:26 p.m., surveillance was terminated.

67.    On December 1, 2021, investigators from the DEA's Columbus District Office and the
Franklin County Sheriffs Office executed a federal search warrant 2874 Ruhl Avenue in
Columbus, Ohio. Pursuant to the execution of this warrant, investigators seized approximately

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6,407 gross grams of suspected methamphetamine from one of the bedrooms. At the time this
warrant was executed, JORDAN and CONTRERAS were present.

68.    After being advised of his rights as they pertain to the Miranda Decision, CONTRERAS
admitted to taking custody of the methamphetamine from unknown "Hispanic" drug traffickers
approximately a week earlier.

69.    Your Affiant conducted a presumptive field test from samples taken from the suspected
methamphetamine discovered at 2874 Ruhl Avenue. The samples tested positive for the
presence of methamphetamine.

70.    DEA forensic chemists have confirmed that the suspected heroin purchased on October
20, 2021 and November 3, 2021, did indeed contain heroin.

                                              CONCLUSION

71.     Based upon the information presented in this affidavit, there is probable cause to believe
that beginning on or about October 20, 2021, and continuing until about December 1, 2021, in the
Southern District of Ohio, CONTRERAS, MURCIA, and JORDAN, did knowingly and
intentionally conspire with others, both known and unknown, to distribute 100 grams or more of
a mixture and a substance containing a detectable amount of heroin, a schedule I controlled
substance, in violation of Title 21, U.S.C. § 841(a)(1) and (bxl)(B)(i), and Title 21, U.S.C. § 846.
In addition, on October 20, 2021, CONTRERAS and JORDAN did knowingly and intentionally
distribute a mixture and a substance containing a detectable amount of heroin, a schedule I
controlled substance, in violation of Title 21, U.S.C. § 841 (a)(1) and (b)(1)(C), on November 3,
2021, MURCIA did knowingly and intentionally distribute 100 grans or more of a mixture and a
substance containing a detectable amount of heroin, a schedule I controlled substance, in violation
of Title 21, U.S.C. § 841 (a)(1) and (b)(1)(B)(i), and on November 17, 2021, MURCIA did
knowingly and intentionally distribute 100 grams or more of a mixture and a substance, containing
a detectable amount of heroin, a schedule I controlled substance, in violation of Title 21, U.S.C. §
841 (axl) and (b)(1)(B)(i). On December 1, 2021, CONTRERAS knowingly possessed with
intent to distribute 500 grams or more of a mixture and a substance containing a detectable amount
of methamphetamine, a schedule II controlled substance, in violation of Title 21, U.S.C. § 841
(ax!) and (b)(1)(Axviii).




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                                                      ChrySfopher Cadogan, Special Agent
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SUBSCRIBED and SWORN to before me this        ay of Dcccmbcr, 2021.




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UNITED STATES




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